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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )   No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

    DEFENDANTS’ MOTION TO QUASH AND FOR RELIEF FROM DISCOVERY
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                                       INTRODUCTION

       Defendants move for this Court to quash or otherwise disallow Plaintiffs’ 17 discovery

requests relating to the declarations of Brian Ortega. Plaintiffs’ requests seek a myriad of

documents and information and go well beyond the scope of the limited discovery that the Court

has permitted on this narrow issue. Many of the requests also seek information that is clearly

privileged and protected from disclosure. Moreover, Plaintiffs’ 11 interrogatories must be quashed

because the Court did not permit the parties to propound interrogatories; instead, it permitted only

the production of metadata and the deposition of specific agency witnesses. See Tr. of May 21,

2025 H’rg at 72:5-7, 74:19-22.

       Defendants further move this Court for relief from its limited discovery order. The Court

authorized limited discovery focused on a single issue: ascertaining how the inadvertent

misrepresentation in Brian Ortega’s March 25, 2025 Declaration (“Ortega Declaration”) (ECF No.

31-1 at ¶ 13) was made to the Court. The facts that the Court ordered the parties to determine

through this discovery can be obtained by other means that are more convenient, less burdensome,

and less expensive. Namely, via a review of the attached declaration. Because the purpose of this

limited discovery can be achieved in an easier and less onerous way, Plaintiffs’ interrogatories and

requests for production of documents are therefore unnecessarily duplicative, overly burdensome,

and disproportionate to the needs of the case. For these reasons, the Court should quash Plaintiffs’

discovery requests and grant relief from its discovery order.

                                        BACKGROUND

       In a hearing on May 21, 2025, the Court addressed the factual inaccuracy regarding Mr.

O.C.G. that was contained in the Ortega Declaration. The Court considered holding an evidentiary

hearing to determine the origin of the inaccuracy in the declaration. Tr. of May 21, 2025 H’rg at

71:19-23 (“[W]hat I was considering doing is having an evidentiary hearing . . . and see if we can


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get to the bottom of how this happened and whether it was . . . inadvertence [or] deliberate

obfuscation”). Instead, the Court decided to have the parties “do it amongst yourselves. Go depose

these two individuals, go seek the metadata, and come back with a position to this Court.” Tr. of

May 21, 2025 H’rg at 72:5-7; see also id. at 74:19-22 (“[Y]ou can go depose those three

individuals, Mr. Ortega and the two individuals in question; you can hire a computer expert to

examine the metadata”), 75:13-14 (“But, for the time being, we’ll go forward with the

depositions”).

       On May 23, 2025, the Court ordered Defendants to facilitate Mr. O.C.G.’s return to the

United States. ECF No. 132. The Court also noted that it had “ordered discovery, including

depositions of the individuals involved in the false declaration and underlying data entries, to better

understand how this happened.” ECF No. 132 at 3. On June 17, 2025, Plaintiffs served 11

interrogatories and 6 requests for production of documents on Defendants. Ex. A.

                      STANDARD GOVERNING DISCOVERY RELIEF

       Under Fed. R. Civ. P. 26(c), the Court may, for good cause, “issue an order to protect a

party or person from annoyance, embarrassment, oppression, or undue burden or expense.” A

protective order issued under Fed. R. Civ. P. 26(c) may, among other things, “forbid[] inquiry into

certain matters, or limit the scope of disclosure or discovery to certain matters.” Fed. R. Civ. P.

26(c)(1)(D).

       Under amended Rule 26(b), the scope of permissible discovery is subject to a

proportionality requirement.” Tilem v. Travelers Commercial Ins. Co., 2018 WL 4963124, at *7

(C.D. Cal. May 2018). Thus, “[p]arties may obtain discovery regarding any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case,

considering the importance of the issues at stake in the action, the amount in controversy, the

parties’ relative access to relevant information, the parties’ resources, the importance of the


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discovery in resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit.” Id. (quoting Fed. R. Civ. P. 26(b)(1)). The proportionality

requirement is “designed to avoid . . . sweeping discovery that is untethered to the claims and

defenses in litigation.” Mfg. Automation & Software Sys., Inc. v. Hughes, 2017 WL 5641120, at

*5 (C.D. Cal. Sept. 21, 2017).

       “District courts need not condone the use of discovery to engage in ‘fishing expeditions.’”

Rivera v. NIBCO, Inc., 364 F.3d 1057, 1072 (9th Cir. 2004). Under Fed. R. Civ. P. 26(b)(2)(C),

Courts must limit discovery requests which are either outside the scope permitted by Rule 26(b)(1),

or which are “unreasonably cumulative or duplicative, or can be obtained from some other source

that is more convenient, less burdensome, or less expensive.” Courts have a duty to enforce Rule

26 by denying disproportionate and abusive discovery and to ensure the “just, speedy, and

inexpensive determination of every action.” Fed. R. Civ. P. 1; Fed. R. Civ. P. 26(b)(1), Advisory

Comm. Notes (2015).

                                         ARGUMENT

       Defendants move for this Court to quash or otherwise disallow Plaintiffs’ sweeping

discovery requests. See Ex. A. The Court’s oral and written orders did not contemplate

interrogatories nor Plaintiffs’ broad requests for production. Tr. of May 21, 2025 H’rg at 72:5-7

(“Go depose these two individuals, go seek the metadata, and come back with a position to this

Court.”); see also id. at 74:19-22 (“[Y]ou can go depose those three individuals, Mr. Ortega and

the two individuals in question; you can hire a computer expert to examine the metadata”). The

Court did not permit the parties to propound interrogatories at all, and certainly did not permit

interrogatories explicitly seeking the content of privileged conversations. See Interrogatory No. 9

(“Describe in detail the ‘further investigation’ that Brian Ortega took as described in paragraph 6

of his declaration at Dkt. 103-1, including the dates on which he took such steps, the sources


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consulted, the dates those sources were consulted, and what Brian Ortega learned from each

source, particularly as it relates to ICE’s inability ‘to identify an officer or officers who asked

O.C.G. if he feared a return to Mexico.’”). The Court also did not order the production of material

outside the limited metadata behind the two EARM entries. Because Plaintiffs’ discovery requests

are plainly beyond the scope of the limited discovery that the Court has permitted on this narrow

issue, the Court should quash or otherwise disallow them.

       Additionally, Plaintiffs’ interrogatories and requests for production are overly broad,

unduly burdensome, and not proportional to the needs of this limited discovery. The Court directed

the parties to engage in narrow factfinding to resolve one issue: how the inadvertent

misrepresentation in the Ortega Declaration was made to the Court. ECF No. 132 at 3; Tr. of May

21, 2025 H’rg at 72:5-7, 74:19-22. However, the Court did not authorize broad, wide-ranging

discovery into a host of issues that are, at best, tangentially related to the subject of this limited

discovery. See, e.g., RFP No. 4 (“Produce any policies, instructions, guidance, protocols, user

manuals, training manuals, or similar documents for DHS employees’ use of EARM or EADM”).

Because the purpose of this limited discovery is to determine the cause of the declaration’s

inadvertent error, that goal can be achieved in an easier and less onerous way than through

Plaintiffs’ discovery requests.

       Specifically, after further investigation into the error, Defendants respectfully submit the

attached declaration of Brian Ortega explaining the reason for the error. See Ex. B. As the

declaration makes clear, the inaccuracy was the result of an inadvertently erroneous entry in ICE’s

ENFORCE Alien Removal Module (EARM). Mr. Ortega’s March 25, 2025 declaration

inaccurately stated that “prior to O.C.G being removed to Mexico, [ICE Enforcement and Removal

Operations (ERO)] verbally asked O.C.G. if he was afraid of being returned to Mexico. At this




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time, O.C.G. stated he was not afraid of returning to Mexico.” ECF No. 31-1 at ¶ 13; Ex. B at ¶ 4.

This statement was based on an EARM entry indicating that O.C.G. was asked about fear of

removal to Mexico and then did not assert a fear of being removed to Mexico. Ex. B at ¶ 5.

However, upon further investigation, it was revealed that the deportation officer who made that

entry and the entry on February 20, 2025—Officer R.Z.—assumed O.C.G. was asked about fear

of removal to Mexico and did not assert a fear and Officer R.Z. made the erroneous February 21,

2025 EARM entry based on this assumption. Id. at ¶¶ 7-9. He made this assumption because it was

Officer R.Z.’s routine practice at that time to affirmatively ask about fear of return and he believed

it to also be the practice of other deportation officers. Id. Regrettably, Officer R.Z. did not confirm

with the deportation officer who served O.C.G. his removal paperwork—Officer G.S.—whether

he did, in fact, ask O.C.G. about a fear of removal to Mexico and what O.C.G.’s response was. Id.

at ¶ 10. Because of this mistaken assumption, Officer R.Z.’s February 21, 2025 EARM entry was

inaccurate. Id. at ¶¶ 7, 8. Mr. Ortega subsequently relied on this EARM entry when preparing his

March 25, 2025 declaration, which is how this inadvertently erroneous entry resulted in the factual

inaccuracy in ¶ 13 of the declaration. Id. at ¶ 5. Although the resulting misrepresentation to the

Court was inadvertent, Defendants wish to emphasize how deeply they regret and apologize for

this error. Further, Defendants have taken corrective action to prevent such an error from

reoccurring. Id. at ¶ 11.

        The result of Defendants’ investigation has revealed a remarkably simple, although deeply

regrettable error, made by a single deportation officer. Therefore, Defendants respectfully submit

that no further discovery into this matter is proportional to achieve its purpose: “to better

understand how this happened,” ECF No. 132 at 3; i.e., how the inadvertent misrepresentation in

the Ortega Declaration was made. Accordingly, Defendants respectfully request relief from the




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Court’s discovery orders regarding O.C.G. and request that this Court accept the attached

declaration as a complete explanation satisfying the reasons for its discovery order. However, to

the extent that the Court has further questions on this matter, Defendants believe those can be best

resolved via a Court order for another declaration addressing those questions, or in another manner

this Court deems appropriate.

                                         CONCLUSION
       For the foregoing reasons, the Court should grant Defendants’ Motion.


Respectfully submitted,
                                                     /s/Matthew P. Seamon
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                            LOCAL RULE 7.1 CERTIFICATION

I, Matthew Seamon, certify that pursuant to L.R. 7.1(a)(2), counsel for Defendants conferred
with counsel for Plaintiffs, who oppose this motion.

                                                    /s/ Matthew P. Seamon
                                                    Matthew P. Seamon
Dated: July 18, 2025                                Senior Litigation Counsel




                                CERTIFICATE OF SERVICE

        I, Matthew Seamon, Senior Litigation Counsel, hereby certify that this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

                                                    /s/ Matthew P. Seamon
                                                    Matthew P. Seamon
Dated: July 18, 2025                                Senior Litigation Counsel
